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                           IN THE UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF OREGON



UNITED STATES OF AMERICA,                       )
                                                )
                          Plaintiff,            )            No. 3:06-cr-00385-JO
                                                )
               V.                               )
                                                )
JOHNNY BROWN,                                   )            OPINION AND ORDER
                                                )
                                                )
                          Defendant.            )


JONES,J.

        After a jury trial, Defendant Johnny (Mickey) Brown was convicted of wire fraud, false

statements to a financial institution, and tax evasion. Judge King sentenced Defendant to 130

months' imprisonment, and ordered that he pay $6,254,578 in restitution.

        Defendant now moves to vacate, set aside, or c01Tect his sentence under 28 U.S.C. §

2255, claiming that he received ineffective assistance of counsel from his principal trial attorney,

Matthew Schindler. Def. 's Mot. for Relief, ECF No. 338 (filed prose); Def.'s Am. Mot. for

Relief, ECF No. 388 (filed by appointed counsel). For the following reasons, I deny Defendant's

Motion.

                     FACTUAL AND PROCEDURAL BACKGROUND

I. Defendant's Criminal Conduct

       In 1984, Defendant began working for Kirby Vacuum, selling vacuum cleaners door-to-

door. Presentence Investigation Report (PSR) ,r 91. By all accounts, Defendant was a superb



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salesman, becoming one of the most successful Kirby distributors in the United States. As a

distributor, Defendant purchased standard vacuum cleaners directly from Kirby for about $350

and sold them to customers for about $1,500. PSR 125. An experienced former Kirby

distributor who knew Defendant testified that for about ten years, Defendant was a member of

the "Golden Circle," "the top elite group" of Kirby distributors who purchased and sold at least

2,400 vacuum cleaners each year. Trial Transcript (Tr.) 187-88 (testimony of Marshall He1rnn),

ECFNo. 275.

        In 1995, Defendant married Lili Andersen, another Kirby distributor. Lili Andersen

Brown was later indicted as a co-defendant. 1

        Defendant operated his Kirby distributorship in Tigard, Oregon. In 200 I, one of

Defendant's employees, Dalma Franulovic, set up a merchant account at a U.S. Bank branch in

Sherwood, Oregon, located in a grocery store. Although Defendant controlled the merchant

account, it was in Franulovic's name, not Defendant's.

        Many of Defendant's customers purchased vacuum cleaners on an installment plan, and

Defendant and his wife set up their own financing business, American First Financial, for such

customers. Tln·ough the financing business, Defendant could determine which customers had

credit cards with little or no outstanding balance.

        Between 2001 and 2003, Defendant recruited customers to paiiicipate as investors in the

fraudulent scheme charged in the indictment. Defendant used several methods to persuade

individuals to allow him to use their credit cards. For example, after a customer purchased a

vacuum cleaner, Defendant would meet with the customer at the customer's home, ostensibly to


1 In 2007, Lili Andersen Brown pleaded guilty to one count of tax evasion, and the other charges against
her were dismissed. ECF No. I 06 (transcript of plea hearing). In 2009, she was sentenced to four
months' imprisonment. ECF No. 118 (judgment). She was also ordered to pay $130,871 in restitution.
PSR 123.

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explain the vacuum's operation, provide spare bags, and discuss whether the customer was

satisfied. Defendant would tell customers "how successful his Kirby business was, and how he

was having trouble keeping inventory in stock, and the complexities of his cash-flow situation."

PSR ,r 26. Defendant would claim that he and the customer would mutually benefit if Defendant

was allowed to use one or more of the customer's credit cards, in effect loaning money to

Defendant so he could "invest in inventory without having to go through an outside financial

agency, which would cost more." PSR ,r 27. In return for use of the credit card, Defendant

promised to pay dividends based on vacuum sales, at monthly rates of I% or 2%. Defendant

assured these investors that there was no risk to them, and that he would pay off the credit card's

outstanding balance whenever they decided to end the mrnngement.

       Defendant courted potential investors by showing them that his business was successful,

bringing them to his bustling Kirby office. Tr. 232-48 (testimony of Sally Krouth). Defendant

also recruited investors from the Living Water Christian Assembly in Albany, Oregon, a church

he and his wife attended and financially supported. PSR ,r 29. Many of Defendant's victim

investors trusted him as an "upstanding Christian." PSR ,r 48.

       After obtaining credit cards, Defendant had them swiped through the U.S. Bank point of

sale tenninal in his Kirby offices. The point of sale terminal registered the credit card

transactions as sales of merchandise, although Defendant had not sold anything. The cash

advances were then deposited directly into Defendant's merchant account with U.S. Bank.

       Defendant used money he obtained from the credit card transactions to pay personal and

business expenses. "The largest business expense was the monthly debt service on 596 credit

cards and payments of 'dividends' to the many victim investors." Gov'! Resp. 3. Defendant's

need to continue paying "dividends" to investors by recruiting new investors is one hallmark of a



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Ponzi scheme, which the Ninth Circuit has described as "a financial fraud that induces

investment by promising extremely high, risk-free returns, usually in a short time period, from an

allegedly legitimate business venture. 'The fraud consists of funnelling [sic] proceeds from new

investors to previous investors in the guise of profits from the alleged business venture, thereby

cultivating an illusion that a legitimate profit-making business opportunity exists and inducing

further investment."' Donnell v. Kawell, 533 F.3d 762, 767 n.2 (9th Cir. 2008) (quoting In re

United Energy Corp., 944 F.2d 589,590 n.1 (9th Cir.1991)).

       Defendant used some of the money for personal living expenses such as housing and

clothes. He made large donations to charitable causes, including tithing $2,000 per month to the

Living Water Christian Assembly. PSR ,r 29. In 2001 and 2002, he funded a festival in Albany,

Oregon, called Summer Fest, offering free food and entertainment. Tr. 209 (testimony of

Michael Kennedy).

       In 2003, Defendant's scheme began to fall apart. The PSR calculates that between July

2002 and April 2003, the U.S. Bank credit card terminal in Defendant's Kirby business

processed more than $4.8 million, of which only 9% went for Kirby inventory. PSR ii 34; Gov't

Resp., Ex. 8, at 48.

        U.S. Bank discovered Defendant's fraud in early March 2003, when a U.S. Banlc

investigator noticed that a couple had each applied for a credit card and line of credit at the

Sherwood branch banlc, and immediately took all the available money and deposited it into

Defendant's merchant account. PSR ,r 37. A banlc employee told the investigator that the couple

had come to the banlc with Defendant, and that Defendant and his wife "had been bringing

people in for months for credit or real estate loan applications, and that all the bank employees

were participating." PSR ,r 37. "The investigator statied pulling records and noticed that the



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typical 'new applicant' was an elderly woman with good credit." PSR 'If 38. When the

investigator called five of these women, they could not explain precisely what they had

purchased from Defendant. In light of this evidence, on March 7, 2003, U.S. Bank froze

Defendant's merchant account and disallowed further purchases on the credit card machine in

Defendant's Kirby office, pending further investigation.

        After U.S. Bank froze his merchant account, Defendant knew that many of the investors'

credit cards would soon be in default. On March 12, 2003, Defendant discovered that although

the credit card terminal could no longer process sales, it could still process refunds. He had his

employees run as many cards as possible through the terminal, reversing the charges based on

fictional customer refunds or "chargebacks." 2 Defendant was able to transfer about $1 million in

debt from about 100 cards. The next day, however, a monitoring company noticed the unusual

activity in Defendant's merchant account and fully disabled the credit card terminal. The

chargebacks eliminated some of the debt owed by the cardholders, transferring the debt to

Defendant's now empty merchant account.

        Defendant then tried to shift millions of dollars in remaining cardholder debt by directing

individual cardholders to submit credit slips to the credit card companies. The credit slips stated

that the cardholders were disputing the charges because they had not received merchandise they

had ordered. In fact, the cardholders had never ordered merchandise from Defendant.

Defendant used various explanations to persuade the cardholders to use the credit slip plan.

Some agreed, while others refused, considering the plan unethical and choosing instead to take

on the debt themselves. It took weeks for U.S. Bank to discover Defendant's credit slip scheme.


2  Mary Erdman, an employee of U.S. Bank's subsidiary Elavon, testified that in merchant accounts, U.S.
Bank advances funds to the merchant for credit card sales, which are then repaid by the credit card banks.
If a credit card sale is later credited or reversed, the merchant's U.S. Bank account is charged for the
credit, which is referred to as a chargeback. Tr. 201.

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Defendant succeeded in transfe1Ting more than $4.2 million in debt from individual cardholders

to U.S. Bank.

       Later in 2003, Defendant and his wife learned that federal authorities were investigating

them. Their businesses soon failed.

       The PSR includes brief statements from more than 20 individual victims. The

government contends that Defendant defrauded more than 50 individual victims, citing an

exhibit summarizing ledger cards kept by Defendant and his employees indicating amounts owed

to 154 cardholders with 596 credit cards. Gov't Resp. 23 & Ex. 10 (Trial Ex. 6). At sentencing,

however, Judge King applied a two-level guideline enhancement based on 25 to 50 victims.

Gov't Resp., Ex. 9, at 57 (transcript of sentencing hearing).

II. Pretrial Proceedings

       In 2006, a grand jury issued a 30-count indictment against Defendant, charging him with

false statements to a financial institution, mail fraud, bank fraud, access device fraud, and tax

evasion. The grand jury later returned three superseding indictments. In the final indictment, the

Fourth Superseding Indictment, issued in 2009, Defendant was charged with seven counts of

wire fraud in violation of 18 U.S.C. § 1343; six counts of false statements to a financial

institution in violation of 18 U.S.C. § 1014; and one count of tax evasion in violation of26

U.S.C. § 7201. Gov't Resp., Ex. 4 (copy of Fourth Superseding Indictment). While the charges

against him were pending, Defendant remained on release, generally under the supervision of the

U.S. Pretrial Services, until after sentencing in December 2011. PSR ,r 96.

       Defendant was represented by court-appointed counsel. As of March 2009, attorney

Thomas Coan represented Defendant. When Defendant became dissatisfied with Coan's

representation, Judge King appointed Matthew Schindler as co-counsel. Gov't Resp., Ex. 1,



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Schindler Deel.     1 6.   Because Defendant continued to have "communication and trust issues"

with Coan, in June 2010, Judge King granted Defendant's request to substitute Schindler as lead

counsel. Schindler Deel. 1 7.

            Because the adequacy of Schindler' s representation of Defendant is the focus of the

current motion, Schindler' s qualifications and experience are relevant. He graduated from Lewis

and Clark Law School in 1995. While attending law school, he worked in Portland as a law

clerk for the Federal Public Defender's office and as a certified law student for the Metropolitan

Public Defender. After passing the California and Oregon bars, he worked for two experienced

federal criminal defense lawyers and then took a position with the Metropolitan Public

Defender's office, trying about 30 misdemeanor cases in 18 months. He then worked for several

federal criminal defense lawyers, working as co-counsel on a counterfeiting case in federal court

and a complex fraud case.

            In 1998, Schindler began accepting appointments as a member of the Criminal Justice

Act (CJA) panel. Since then, he has exclusively practiced criminal defense in federal court.

Schindler Deel.     13.    By 2018, Schindler had tried five complex multi-defendant cases, and was

counsel on more than 200 federal cases, a third of which were financial or white-collar criminal

cases. As of 2011, however, this case was Schindler's first complex federal fraud trial as lead

counsel. Schindler Deel.       1 8.
            Schindler filed a pretrial motion to dismiss the indictment and, through co-counsel Lynne

Morgan, a motion in limine to exclude much of the government's evidence. Both motions were

unsuccessful. When the motions were denied, Schindler "had to formulate a trial strategy

!mowing virtually all the government's evidence on all counts would be admitted." Gov't Resp.

12.



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Ill. Trial and Sentencing

       A. Trial

       Defendant's jury trial began May 3, 2011. In preparing for trial, Schindler states that

based on advice from other federal criminal defense lawyers, and his own experience, he "came

to believe that a conservative strategy where one did not call witnesses and generally relied on

the presumption of innocence and the burden of proof was the correct way to litigate in federal

court." Schindler Deel. 'j 8.

       Schindler decided "to have the jury focus on the corporate bank whose avarice and

facilitation of the offense made it far less sympathetic than either the people at the local bank

branch that [Defendant] manipulated or the individual cardholder victims that he misled about

his ability to repay them." Schindler Deel. 'j 12. Schindler notes that Defendant effectively

guaranteed a 40% interest rate for investors, even though he "!mew at the time that was

unsustainable because he had previously engaged in a similar financing scheme involving

American Express and he ended up owing them nearly $1 million." Schindler Deel.         'I 12 (the
American Express situation is not at issue here). In short, Schindler thought "it would be easier

to paint the corporate bank as the villain rather than an elderly, infirm woman who invested

because of [Defendant's] religious appeals." Schindler Deel. 'j 12.

       Schindler states that he decided to focus on the bank after he and his co-counsel spoke to

"some of the investor witnesses," who "came across as vulnerable and very sympathetic."

Schindler Deel. 'j 13; 'I 15 ("We interviewed two or tln·ee of the credit card investors and they

came across as decent honest people who wanted to help [Defendant] as much as they expected

to make any money."). Schindler also "reviewed the government's memos regarding interviews

of more than 100 people" who loaned credit cards to Defendant. Schindler Deel.      if! 5.


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       Describing himself as "a large and loud man," Schindler chose to have co-counsel Lynne

Morgan cross-examine the individual victims, to avoid the appearance of"attacking an elderly

woman for loaning [Defendant] her credit card." Schindler Deel.       ,r 14.    Schindler decided that

other than pointing out Defendant's efforts to repay investors, he did not and does not see any

benefit to focusing on "those individuals who lost money and refused to pmiicipate in the

chargeback scheme," or arguing about the "technical terms of their agreements" with Defendant.

Schindler Deel. ,r 14.

        Before his scheme fell apmi, Defendant had sought information from Phil Goldsmith, an

attorney who was an expe1i on debtor-creditor law, using the infmmation "selectively to suppmi

the chargebacks." Schindler Deel.   ,r 17.   When Schindler later interviewed Goldsmith while

prepm-ing for trial, Schindler decided not to call him as a defense witness because he "did not

have a favorable view of [Defendant's] conduct." Schindler Deel.       ,r 17.   Goldsmith's negative

view of Defendant's conduct also dissuaded Schindler from calling another expert on the topic.

       In the preliminary jury instructions, Judge King told the jury that to prove the wire fraud

charges, the government had to prove that Defendant "made up or participated in a scheme to

defraud U.S. Banlc, credit card companies, and individual credit cardholders to obtain money

from them by false statements." Gov't Resp., Ex. 2, at 2 (trial transcript). Schindler decided to

focus on the bank because the evidence of Defendant's misrepresentations to the investor victims

was very strong, and the government could not prove the wire fraud counts unless it could show

the banlc was a victim. Schindler states, "If the jury agreed that the banlc was not a victim

because of its malfeasance, then we win." Schindler Deel.    ,r 13.   Schindler hoped that his

strategy "might create confusion with the jury and lead to a hung jury." Schindler Deel.        ,r 20.
       During the deliberations on May 10, 2011, the jury sent two notes asking whether the



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government needed to prove all three categories of alleged victims were defrauded. Gov't Resp.,

Ex. 3, at 6-14 (trial transcript). The next day, the jury found Defendant guilty on all charges.

       B. Sentencing

       The U.S. Probation Office prepared the draft PSR on October 3, 2011. The draft PSR

recommended a 300-month prison term.

       On November 30, 2011, Schindler submitted a 16-page memorandum with

comprehensive objections to the draft PSR. Gov't Resp., Ex. 8, at 37-52. Schindler argued that

the proposed sentence was "completely out of proportion," providing a chart of sentences

imposed in other fraud cases from this district and other districts across the United States. Ex. 8,

at 37. Schindler also objected to the financial loss calculation and most of the proposed

guideline enhancements.

       In the final PSR, which included responses to Schindler's objections, the Probation

Office adhered to its sentencing recommendation. The PSR concluded that individual

cardholders suffered "[c]omplete financial ruin ... now coupled with deep personal pain, as

most of [Defendant's] victims believed he was their friend, fellow parishioner, and as he was

often described, 'a man of God."' PSR ,i 46.

       Shortly before the sentencing hearing, Schindler met with Defendant. Based on

numerous sentencings he had handled before Judge King, Schindler !mew "it would be favorable

if [Defendant] could muster some kind of apology even ifhe did not concede his guilt."

Schindler Deel. ,i 22. Schindler spent two days persuading Defendant to agree to give a four-

sentence statement of apology.

       At Defendant's allocution, however, he rejected Schindler's advice, instead delivering a

rambling statement that included equivocal apologies but also blamed his impoverished



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upbringing for his crimes. He also personally addressed several victims who were sitting in the

courtroom. At one point, Defendant produced a cashier's check for $100, stating "Ifl never get

to pay another cent, I'm clear in my heart, I can say I paid something." Gov't Resp., Ex. 9, at 47

(sentencing transcript). Schindler states that the transcript "does not convey the look on Judge

King's face as [Defendant] waived [sic] around a cashier's check that represented his first $100

restitution payment and shouted about being so1Ty. It might be the only time I ever saw this

judge visibly angry and he was going to order [Defendant] detained that moment." Schindler

Deel. ,i 22. Schindler was able to persuade Judge King to allow Defendant to remain out of

custody during the Christmas holidays.

       Judge King imposed 130 months' imprisonment, a favorable result given the 300-month

recommendation. Schindler states that Defendant's misguided sentencing allocution was the

"single biggest factor" in Defendant "receiving a sentence of 130 months instead of something

less." Schindler Deel. ,i 22.

       On appeal, the Ninth Circuit affirmed in two separate decisions. 784 F.3d 1301 (9th Cir.

2015) (within district court's discretion to proceed with jury deliberations with 11 jurors after

excusing juror for illness); 601 F. App'x 565 (9th Cir. 2015) (mem. <lisp.). The Supreme Court

denied certiorari. _U.S._, 136 S. Ct. 250 (2015).

                                     LEGAL STANDARDS

I. Motions Under 28 U.S.C. § 2255

       Under 28 U.S.C. § 2255, a federal prisoner in custody on a sentence after conviction may

move the court that imposed the sentence to vacate, set aside, or correct the sentence because:

       [T]he sentence was imposed in violation of the Constitution or laws of the United
       States, or that the court was without jurisdiction to impose such sentence, or that
       the sentence was in excess of the maximum authorized by law, or is otherwise
       subject to collateral attack ....


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28 U.S.C. § 2255(a). To prevail on a motion under§ 2255, a defendant must show that an error

of constitutional magnitude occurred and that the error had a substantial and injurious effect or

influence on the guilty plea or the jury's verdict. Brecht v. Abrahamson, 507 U.S. 619, 637

(1993).

II. Ineffective Assistance of Counsel

          To prevail on a claim for ineffective assistance of counsel, a defendant must show that his

attorney's performance was umeasonable under the prevailing professional standards and that

the deficient performance prejudiced his defense. See Strickland v. Washington, 466 U.S. 668,

694-95 (1984). If the defendant fails to show either incompetent performance or prejudice, the

comi "must dismiss the claim." United States v. Sanchez-Cervantes, 282 F.3d 664, 672 (9th Cir.

2002).

          There is a strong presumption that counsel's conduct is reasonable. Hendricks v.

Calderon, 70 F.3d 1032, 1036 (9th Cir. 1995). "Review of counsel's performance is highly

deferential." United States v. Ferreira-Alameda, 815 F.2d 1251, 1253 (9th Cir. 1986).

          To establish prejudice, the defendant must show "a reasonable probability that, but for

counsel's unprofessional errors, the result of the proceeding would have been different."

Strickland, 466 U.S. at 694. "It is not enough 'to show that the errors had some conceivable

effect on the outcome of the proceeding."' Harrington v. Richter, 562 U.S. 86, 104 (2011)

(quoting Strickland, 466 U.S. at 693). Rather, "[c]ounsel's errors must be 'so serious as to

deprive the defendant of a fair trial, a trial whose result is reliable."' Id. (quoting Strickland, 466

U.S. at 687).




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                                          DISCUSSION

I. Schindler's Declaration

       In Schindler's declaration, filed more than seven years after the trial, he states that "the

case could have been defended differently and that might have led to a different result. I further

acknowledge that with the experience I have now, I would try the case differently, and in

pmticular I would have called defense witnesses. At the time, however, I believed that I was

making the appropriate tactical decisions which were both confirmed by [the] client and by co-

counsel and prior counsel." Schindler Deel. ,i 21.

       I agree with the government that while Schindler's candor may be commendable, his

statements do not show that his representation of Defendant was ineffective. Gov't Resp. 10.

The comt "must make every effo1t 'to eliminate the distorting effects of hindsight, to reconstruct

the circumstances of counsel's challenged conduct, and to evaluate the conduct from counsel's

perspective at the time."' Gulbrandson v. Ryan, 738 F.3d 976,988 (9th Cir. 2013) (quoting

Strickland, 466 U.S. at 689). I conclude that Schindler performed competently in litigating what

Judge King called "one of the toughest cases I've handled in the 13 years I've been a federal

judge." Gov't Resp., Ex. 9, at 52 (sentencing transcript). Furthermore, the Ninth Circuit

concluded on direct appeal that "there was overwhelming evidence of guilt." 601 F. App'x at

566 (addressing whether district comt erred in excluding evidence of the absence of flight).

Because the evidence against him was so strong, Defendant cannot show that he was prejudiced

by Schindler's representation.

II. Defendant's Pro Se Motion

       In Defendant's pro se motion, he argues that Schindler should have presented expe1t

testimony "to analyze the amounts of charges on credit cards, and to make a calculated



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assessment of whether this defendant could maintain a reasonable belief of his ability to pay

back the amounts willingly lent to him by investors on their credit cards, based on other

investments and assets." Def.'s Mot. 4. Such evidence, ifit existed, would not be relevant. The

Ninth Circuit has flatly rejected the argument that a defendant "was not guilty of wire fraud

because he intended to pay back the funds he deceptively obtained." United States v. Miller, 953

F.3d 1095, 1103 (9th Cir.),petitionfor cert.filed, _U.S.L.W. _        (U.S. Sept. 20, 2020 (No.

20-5840). The court explained that the wire fraud statute does not require "an intent to

permanently deprive a victim or money or property." Id (footnote and citation omitted).

         Defendant also argues in his pro se motion that Schindler was incompetent for failing to

present defense witnesses. Def.'s Mot. 4. Although Schindler now states that he should have

called as many defense witnesses as possible, I find that Schindler's decision at the time was

reasonable in light of his decision to focus on the corporate bank's conduct, which was far less

sympathetic than the individual cardholders were. Furthermore, if Schindler called witnesses to

testify that Defendant paid them as he had promised, the government could explain that

Defendant "repaid investors with other investors' money, a key component of [Defendant's]

Ponzi scheme." Gov't Resp. 13.

         Schindler also reasonably decided not to call attorney Phil Goldsmith, an expert on

debtor-creditor law. Goldsmith's testimony would not have helped Defendant, given

Goldsmith's disapproval of Defendant's conduct.

III. Defendant's Amended Motion

         In the amended motion, Defendant argues that Schindler misread the indictment as

alleging that Defendant defrauded only U.S. Banlc, when the indictment actually charged

Defendant with defrauding U.S. Banlc, the individual investors, and the credit card companies.



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In his declaration, Schindler explains that he correctly understood the indictment but chose to

focus on U.S. Banlc because its "avarice and facilitation of the offense made it far less

sympathetic" than the other victims. Schindler Deel. ~ 12. In light of the compelling evidence

that Defendant defrauded the sympathetic investor victims, Schindler concluded the only chance

of acquittal was to persuade the jury that the bank was not a victim. I conclude that Schindler's

strategy was reasonable, although obviously unsuccessful, under these facts. As the Supreme

Court has noted, there are "countless ways to provide effective assistance." Strickland, 466 U.S.

at 691.

          In his reply brief, Defendant argues that Strickland was ineffective because he

intentionally misled the jury by focusing on the banlc's conduct. Def. 's Reply 608, ECF No. 405.

I disagree with Defendant that Schindler' s tactic had "zero realistic chance of success." Def.' s

Reply 7. The jury sent two notes asking whether all three categories of victims must have been

defrauded, indicating at least the possibility that Schindler cast doubt on the bank's status as a

victim. In any event, given the overwhelming evidence of Defendant's guilt, Defendant cannot

show prejudice.

          Defendant also argues that Schindler should have called exculpatory investor witnesses

who had not lost money. Such witnesses, however, would not negate the testimony of the

investor witnesses who did lose money because of Defendant's fraud. As noted above, the

government could point out that investors were repaid by Defendant at the expense of other

investors, some of whom lost their entire life savings. It is speculative at best to conclude that a

jury might acquit Defendant of wire fraud even if the exculpatory witnesses outnumbered the

witnesses who were harmed.




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       Defendant also argues that Schindler should have focused on whether Defendant falsely

promised investors that they were investing in vacuum cleaner inventory, rather than more

generally investing in Defendant's business. Schindler states, however, that "[a]rguing with

victims over the technical terms of their agreements with [Defendant] did not seem productive.

In any event, at the time, it seemed clear that at least some were 'victims' because irrespective of

the specific terms of the investment [Defendant] had failed to tell them that he could not possibly

repay the loans." Schindler Deel.   ,r 14.   Schindler also states, "It was evident that the promise to

repay with interest was what induced the investor's participation, not getting vacuum cleaners."

Schindler Deel. ,r 15. I find that Schindler was not ineffective in addressing this issue.

       Defendant argues that Schindler was ineffective in representing Defendant at sentencing.

I disagree. The record shows that Judge King sentenced Defendant to a far lower sentence, 130

months, than the 300 months recommended by both the government and Probation. Defendant

himself sabotaged his defense with a disastrous allocution in direct defiance of Schindler's wise

advice to make a short and simple apology.

       Defendant argues that this court should examine whether Schindler was ineffective at the

restitution hearing. Defendant, however, concedes that the Ninth Circuit has ruled that a

defendant may not challenge a restitution order in a proceeding under § 225 5. See United States

v. Thiele, 314 F.3d 399,400 (9th Cir. 2002) (claims for "relief from a restitution order ... cannot

be brought in a § 2255 motion, whether or not the motion also contains cognizable claims for

release from custody").

IV. No Evidentiary Hearing Is Necessary

       Section 2255(b) provides:

       Unless the motion and the files and records of the case conclusively show that the
       prisoner is entitled to no relief, the court shall cause notice thereof to be served


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       upon the United States attorney, grant a prompt hearing thereon, determine the
       issues and make findings of fact and conclusions of law with respect thereto.

Here, I conclude that "the motion and the files and records of the case conclusively show that the

prisoner is entitled to no relief." The record includes the relevant transcripts, a declaration from

defense counsel, and suppotting documents and exhibits.

        Defendant has not earned the right to a hearing by alleging "specific facts which, if true,

would entitle him to relief." United States v. McMullen, 98 FJd 1155, 1159 (9th Cir. 1996). I

therefore deny an evidentiary hearing.

                                          CONCLUSION

        Defendant's Motion and Amended Motion to Vacate, Set Aside or Correct his Sentence

under 28 U.S.C. § 2255, ECF Nos. 338, 388, are DENIED.

       IT IS SO ORDERED.

        DATED October, 16, 2020.




1 7 - Opinion   and Order
